            Case 1:14-cv-02302-CRK Document 136 Filed 03/21/18 Page 1 of 2
                             UNITED STATES COURT OF INTERNATIONAL TRADE
                                         ONE FEDERAL PLAZA
                                       NEW YORK, NY 10278-0001


CHAMBERS OF
Claire R. Kelly
    Judge



                                                             March 21, 2018

Megan Sarah Goddard, Esq.
Goddard Law PLLC
39 Broadway
Suite 1540
New York, NY 10006
Email:      Megan@goddardlawnyc.com

Gabrielle Vinci, Esq.
Nesenoff & Miltenberg LLP
363 Seventh Avenue
5th Floor
New York, NY 10001
Email:        gvinci@nmllplaw.com

Nathaniel K. Charny, Esq.
Charny and Associates
9 West Market Street
Suite B
Rhinebeck, NY 12572
Email:       ncharny@charnywheeler.com

Michael Thomas Hensley, Esq.
Bressler, Amery & Ross, PC (NYC)
17 State Street
34th Floor
New York, NY 10004
Email:       mhensley@bressler.com

Lauren Fenton-Valdivia
Bressler, Amery & Ross, P.C. (NJ)
325 Columbia Turnpike
Suite 301
Florham Park, NJ 07932
Email:      lfvaldivia@bressler.com
        Case 1:14-cv-02302-CRK Document 136 Filed 03/21/18 Page 2 of 2
Case No. 14-cv-02302                                                                 Page 2

       Re:    Claude N. Lewis v. American Sugar Refining, Inc. and Mehandra Ramphal,
              Case No. 14-cv-02302

Dear Counsel:

       The court was advised by the Jury Department of the United States District Court
for the Southern District of New York (“SDNY”) that Monday, April 16, 2018 is heavily
scheduled with jury requests for criminal cases and that those requests will consume the
jury pool. Accordingly, the court finds it prudent to move the final pretrial conference and
the selection of the jury for this action to Tuesday, April 17, 2018.

        As discussed at the March 19, 2018 pretrial conference, the court will hold the final
pretrial conference and select the jury at the SDNY Courthouse located at 500 Pearl
Street, New York, NY 10007, and not at the United States Court of International Trade
Courthouse. The court will advise the parties of the courtroom number at the SDNY
Courthouse once it has been assigned. After the jury is selected for this action, the trial
will proceed on Wednesday, April 18, 2018 at 10 a.m. in Courtroom 1 at the United States
Court of International Trade, 1 Federal Plaza, New York, NY 10278.

       If you have any questions, please contact my case manager, Mr. Steve Taronji, at
(212) 264-1611.


                                                  Sincerely,

                                                   /s/ Claire R. Kelly
                                                  Claire R. Kelly, Judge
